






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-06-00787-CV






In re Delfino Gonzalez







ORIGINAL PROCEEDING FROM COMAL COUNTY






M E M O R A N D U M   O P I N I O N




	Relator Delfino Gonzalez has filed a petition for writ of mandamus seeking to order
the trial court to rule on certain motions.  We deny the petition.  See Tex.&nbsp;R. App. P. 52.8(a), (d).



					                                                                                    

					W. Kenneth Law, Chief Justice

Before Chief Justice Law, Justices Puryear and Henson


Filed:   February 16, 2007

	


